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                   Miscellaneous Action No. 18-mc-51358
                     Criminal Action No. 17-cr-20274


                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                                      Plaintiff,
                                   – v. –

JUMANA NAGARWALA, et al.,
                                                                  Defendants.


     BRIEF OF AMICI CURIAE EQUALITY NOW, WESPEAKOUT,
             SAHIYO, AND SAFE HANDS FOR GIRLS
              IN SUPPORT OF THE UNITED STATES


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                         INTEREST OF AMICI CURIAE
        Equality Now is an international human rights organization that advocates

for the protection and promotion of the rights of women and girls worldwide, with

a membership network of individuals and organizations in more than 160

countries. Founded in 1992, one of Equality Now’s first global campaigns called

on the United Nations to dedicate more resources to end female genital mutilation

(FGM),1 and it played a critical role in adoption of the “Maputo Protocol” to the

African Charter on Human and Peoples’ Rights, a regional women’s rights treaty

which explicitly recognizes FGM as a human rights violation.2

        At the national level, Equality Now has been at the forefront of efforts to

eradicate FGM, pushing for laws that protect girls and criminalize the practice,

and supporting grassroots activists working to end FGM in their communities.

Although laws such as 18 U.S.C. § 116 are an important step forward, much work

remains to be done to fully stamp out FGM. Equality Now has advocated for laws

to fully protect girls and ban FGM in countries including the United Kingdom, the
1
       In this brief, Amici use the term “FGM” as adopted by the United States in
its brief in opposition to describe the practice of partial or total removal of the
external female genitalia, or other injury to the female genital organs for non-
medical reasons. The acronym is intended to be inclusive of other terms
referencing the practice, such as female genital cutting (FGC), female
circumcision, and khafz or khatna.
2
       Protocol to the African Charter on Human & Peoples’ Rights on the Rights
of Women in Africa (Maputo Protocol), Sept. 13, 2000, OAU Doc.
CAB/LEG/66.6,                        http://www.achpr.org/files/instruments/women-
protocol/achpr_instr_proto_women_eng.pdf.

                                         1
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United States, Kenya, Liberia, Mali, and Tanzania, and has been active in

mobilizing support for the United Nation’s 2030 Agenda for Sustainable

Development target to eliminate FGM. In Kenya, Equality Now appears as an

interested party in an ongoing litigation concerning the Prohibition of FGM Act of

2011, and has partnered with the Director of Public Prosecutions and the anti-FGM

Board to that end. In the United States, Equality Now has successfully advocated

for anti-FGM laws at state and federal levels, and in 2016 co-sponsored the “End

Violence Against Girls Summit on FGM,” the first-ever such summit held in the

United States. Equality Now has also submitted amicus briefs before various

bodies, including the United States Supreme Court.3

        Sahiyo is a non-governmental organization that empowers Asian

communities—including the Bohra community—to end FGM through dialogue,

education and collaboration based on community involvement. In 2015, Sahiyo

pioneered a global study on FGM among the Bohra. The results, released in 2017,

contained insights from 384 women (the highest number of which reside in India

and the United States). Virtually the same percentage of respondents who had

undergone FGM (80%) wanted to see the practice stopped (81%). Sahiyo’s other

programming includes storytelling initiatives from hundreds of FGM survivors,
3
       See e.g., Sessions, Attorney General v. Morales Santana, 137 S.Ct. 1678
(2017); Flores-Villar v. U.S., 131 S.Ct. 2312 (2011); Nguyen v. INS, 533 U.S. 53
(2001); Agency for Int’l Devp’t v. Alliance for Open Society International, 133
S.Ct. 2321 (2013).

                                         2
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digital story videos, photo-campaigns, and support groups in which people from

FGM-practicing communities can speak openly without fear of reprisal.

        WeSpeakOut is the largest FGM survivor-led organization of Bohra women

in India, where the practice is also known as khafz or khatna. WeSpeakOut also

has members belonging to the Bohra diaspora based in countries including the

United States, Australia, Canada, and the United Kingdom. Since its formation in

2015, WeSpeakOut has published a detailed legal report on FGM in India that

surveys international and national laws with respect to children’s and women’s

rights,4 and has also disseminated documentation of the prevalence of FGM within

India and in the Bohra community. 5 Its founder represents WeSpeakOut in

pending litigation before the Supreme Court of India concerning the practice.

        Safe Hands for Girls was founded in 2013 to help eradicate FGM and other

forms of gender-based violence. Through programs in the Gambia and the United

States., the organization supports FGM survivors, mobilizes young people, and

advocates at the national level for laws and policies to end FGM. Its founder, Jaha

Dukureh, is a United Nations Women Regional Goodwill Ambassador to Africa.

4
       WESPEAKOUT, FEMALE GENITAL MUTILATION – A GUIDE TO ELIMINATING
THE       PRACTICE        OF        FGM        IN    INDIA       (Mar.      2017),
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                          SUMMARY OF ARGUMENT
      Female genital mutilation and cutting (FGM) is a serious human rights

abuse which occurs across the United States and around the world. An abhorrent

practice, FGM has serious physical and psychological effects on its victims that

stay with them their entire lives.      Keenly aware that FGM is a global and

commercial phenomenon which transcends state lines, “beyond the ability of any

single State or local jurisdiction to control,” the United States enacted 18 U.S.C. §

116 (Section 116) to stop FGM throughout its territory and at its borders.

      With Section 116, the United States joined scores of countries that have also

condemned FGM at the national level. At least 59 countries have passed laws

against FGM in line with their international treaty commitments to combat the

practice, which intersects with prohibitions of child abuse, gender discrimination,

violence against women and girls, and/or torture. As the examples of criminal

statutes set out below demonstrate, the United States’ enactment of Section 116

fully accords with international practice.

      Congress thus acted reasonably in considering that the Treaty Power and the

Commerce Clause afford it Article I competence to enact Section 116, particularly

where a partial, state-by-state approach would gravely undermine the vindication

of international rights which the United States is legally bound to protect. The

charges under Section 116 at issue in the instant motion should be brought to trial.


                                             4
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                                   ARGUMENT

I.      FGM IS A SERIOUS HUMAN RIGHTS VIOLATION THAT
        AFFECTS GIRLS AND WOMEN IN THE UNITED STATES AND
        WORLDWIDE

        Female genital mutilation is, fundamentally, a human rights issue. Directed

at women and girls, the practice crosses race, religious, ethnic, socio-economic,

education and geographic lines. Internationally, it is recognized as a violation of

the rights of women and girls to physical integrity, health, and equality, and has

long been classified by the United Nations as a form of violence against women.6

FGM is a form of gender-based violence and child abuse—no matter the degree,

severity, or motivation. Although the reasons underlying its practice are numerous

and varied, FGM has no legitimate justification but instead contributes to the

oppression of women and girls worldwide. It today stands universally condemned

in the legal, medical, and scientific communities.

        Despite this condemnation, FGM continues to affect millions of women and

girls around the world, including in the United States.       The United Nations


6
      Convention on the Elimination of All Forms of Discrimination against
Women, arts. 1, 2(f), 5(a), 1249 U.N.T.S. 13 (entry into force, 3 September 1981).
The U.S. signed the Convention on 17 July 1980, but has not ratified it. The
Committee on the Elimination of Discrimination Against Women confirmed in
1990 that FGM/C is a form of discrimination against women that States must act to
eliminate. Committee on the Elimination of Discrimination Against Women,
General Recommendation No. 14: Female Circumcision, Doc. A/45/38,
Corrigendum, Preamble and ¶(a) (1990).

                                          5
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Children’s Fund (UNICEF) has estimated that over 200 million women and girls

currently live with the physical and emotional complications of FGM, with 8,000

more at risk every day.7 In the United States, the Center for Disease Control and

Prevention in 2016 estimated that 513,000 women and girls had undergone or were

at risk of undergoing FGM.8

        The implications of this case are thus not confined to the Dawoodi Bohra

community in Michigan, Minnesota, and Illinois. FGM is instead a global issue.

There is a strong global movement of survivors, activists, community leaders,

healthcare providers, educators, law- and policy-makers, and international

organizations working together to end the practice.

        Laws protecting girls’ rights are a critical step toward eliminating FGM.

They can accelerate social change, especially when effectively implemented and

rigorously enforced. In contrast, without proper legal prohibitions, millions of

girls will continue to be subject to this horrific practice. Recognizing this basic


7
       U.N. Children’s Fund, Female Genital Mutilation/Cutting: A Global
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truth, at least 59 countries currently ban or criminalize FGM.          In 2015, 193

countries, including the United States, called for the global elimination of FGM by

2030, declaring this to be “of critical importance for humanity and the planet.”9

The U.N. General Assembly has likewise urged “all necessary measures, including

enacting and enforcing legislation, to prohibit female genital mutilations . . . and to

end impunity.”10

        Survivors are courageously breaking the silence around FGM. They are

raising awareness of the harms caused by FGM and are speaking out in their

families, communities, and globally about the serious physical and psychological

consequences of FGM—consequences which last a lifetime. By bravely sharing

their stories, these women and girls are dispelling the “myths” that FGM is a

religious issue or something that happens only in a small handful of countries.

Their testimonies are included in Annex 1.

        The World Health Organization (WHO), UNICEF, and the United Nations

Population Fund (UNFPA) jointly define FGM as comprising “all procedures


9
       Transforming Our World: The 2030 Agenda for Sustainable Development,
setting a metric to “[e]liminate all harmful practices, such as child, early and forced
marriage,      and      female      genital    mutilation”,      Doc.      A/Res/70/1,
https://sustainabledevelopment.un.org/content/documents/21252030%20Agenda%
20for%20Sustainable%20Development%20web.pdf.
10
   U.N.G.A. Res.67/146, Intensifying global efforts for the elimination of female
genital mutilations, U.N. Doc. A/RES/67/146 (Dec. 20, 2012),
http://www.un.org/en/ga/search/view_doc.asp?symbol=A/RES/67/146.

                                          7
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involving partial or total removal of the external female genitalia or other injury to

the female genital organs for non-medical reasons.”11 According to this definition,

FGM may be classified into four degrees of severity. 12           All classifications,

however, are recognized as harmful, gender-based violence. A joint statement

issued by the WHO, UNICEF, UNFPA and the United Nations Development Fund

for Women, puts it plainly: “Performing FGM of any type on girls compromises

their human rights.”13

      FGM is a public health issue.        All forms can cause serious and well-

documented complications and pathologies, both immediately after the mutilation




11
       World Health Organization, UNICEF, & UNFPA, Female genital
mutilation: a joint WHO/UNICEF/UNFPA statement, p. 2 (1997),
http://apps.who.int/iris/handle/10665/41903.
12
       World Health Organization, Eliminating Female Genital Mutilation: An
Inter-Agency                            Statement,                              (2008),
http://www.who.int/reproductivehealth/publications/fgm/9789241596442/en. The
types are defined as follows: “Type I: Partial or total removal of the clitoris and/or
the prepuce (clitoridectomy). Type II: Partial or total removal of the clitoris and the
labia minora, with or without excision of the labia majora (excision). Type III:
Narrowing of the vaginal orifice with creation of a covering seal by cutting and
appositioning the labia minora and/or the labia majora, with or without excision of
the clitoris (infibulation), Type IV: all other harmful procedures to the female
genitalia for non-medical purposes, including pricking, piercing, incising, scraping
and cauterization.”
13
   World Health Organization, UNICEF, UNFPA, UNIFEM, Regarding the
“Policy Statement – Ritual Genital Cutting of Female Minors” from the American
Academy                      of                   Pediatrics                    (2010),
http://www.who.int/reproductivehealth/topics/fgm/fgm_app_statement.pdf.

                                          8
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and over the long term.14 The procedure of FGM itself is traumatic, and girls are

usually physically held down during the procedure.             Other immediate

complications include pain, excessive bleeding, swelling, and problems with

wound healing and urinal retention. Notably, researchers have found that FGM

Type IV, trivialized as “nicking” by its practitioners, presents a substantially

similar risk of immediate health complications as do Types I and II.15 All types

have health risks, including infections, complications during childbirth, sexual

dysfunction, psychological consequences,16 and adverse obstetric outcomes.17 And


14
       World Health Organization, Female genital mutilation: Fact Sheet (Jan. 31,
2018), http://www.who.int/mediacentre/factsheets/fs241/en; see also U.N.
Committee on the Elimination of Discrimination against Women (CEDAW
Committee), Gen. Recommendation 19: Violence Against Women (1992),
http://www.refworld.org/docid/52d920c54.html.
15
       Norwegian Knowledge Centre for Health Services, Immediate health
consequences         of      female      genital     mutilation/cutting    (2014),
https://fhi.no/globalassets/dokumenterfiler/rapporter/2014/rapport_2014_8_immedi
ate_fgm.pdf.
16
       World Health Organization, Eliminating Female Genital Mutilation: An
Inter-Agency                             Statement,                         (2008)
http://www.who.int/reproductivehealth/publications/fgm/9789241596442/en. See
also LAKSHMI ANANTNARAYAN, SHABANA DILER, NATASHA MENON, THE
CLITORAL HOOD: A CONTESTED SITE – KHAFD OR FEMALE GENITAL
MUTILATION/CUTTING                IN           INDIA          (Jan.         2018),
http://wespeakout.org/site/assets/files/1439/fgmc_study_results_jan_2018.pdf.
17
       World Health Organization, Female Genital Mutilation and obstetric
outcome: WHO Collaborative prospective study in six African countries (2006).
The study outcomes are classified by type of FGM, and reveal that women who
have undergone FGM are significantly more likely than those without FGM to
have adverse obstetric outcomes. Though it found that that the risks seem to be
greater with more extensive FGM, even Type I FGM was found to result in higher
                                        9
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FGM has no known health benefits—only lifelong physical and mental

consequences for the women and girls on whom it is performed.

      Efforts to sanitize FGM by claiming it is performed in a medical setting have

been vigorously rejected by medical associations around the world.18 As the WHO

has explained, health workers who carry out the practice are actively causing

physical and psychological harm, and helping to perpetuate an abhorrent form of

discrimination against women and girls.19

      FGM exacts a tragic price. This month alone (September 2018), three girls

are known to have died in Somalia 20 (local advocates suggest the true figure is

much higher), and fifty girls have been hospitalized in Burkina Faso after

undergoing FGM.21 This is the stark reality underlying these proceedings, and it is




risk of postpartum haemorrhage, prolonged labour, difficult delivery, obstetric
tears/lacerations, longer maternal hospital stay, and higher still birth rates.
18
       UNFPA, Brief on Medicalization (June 2018). “Medicalization” is a term
that describes the practice of FGM by health-care providers, whether in a public or
private clinic, at home, or elsewhere.
19
       World Health Organization, It’s our job as Health Workers to Do No Harm,
(May 16, 2016), http://www.who.int/mediacentre/commentaries/fgm-do-no-
harm/en.
20
       Kate Hodal, Somalia under renewed scrutiny over FGM after two more
young        girls     die,      THE      GUARDIAN         (Sept.        17,    2018),
https://www.theguardian.com/global-development/2018/sep/17/somalia-under-
renewed-scrutiny-over-female-genital-mutilation-after-two-more-young-girls-die.
21
       Burkina Faso botched FGM leaves 50 girls in hospital (Sept. 17, 2018),
https://www.bbc.co.uk/news/world-africa-45551615

                                         10
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this reality which Amici urge the Court to bear in mind when considering

Defendants’ facial challenge to Section 116.


II.   THE U.S. GOVERNMENT’S CRIMINALIZATION OF FGM FALLS
      SQUARELY WITHIN ITS TREATY POWER AND COMPORTS
      WITH THE INTERNATIONAL CONSENSUS

      FGM is a human rights violation of manifold character. The practice has

been recognized as a public safety issue and has been condemned as a form of

child abuse, gender discrimination, violence against women and girls, and even

torture. It is therefore unsurprising that any number of international human rights

treaties encompass the practice of FGM: the Convention on the Rights of the Child,

the Convention on the Elimination of All Forms of Discrimination Against Women,

and the Convention Against Torture, to name but a few. See Section III.C.

      As relevant here, the U.S. Government has explained that Section 116

“rationally relates to implementing” the International Covenant on Civil and

Political Rights (ICCPR), an international treaty to which the United States is party,

“because FGM is an abuse encompassed within the treaty’s broad goals and

prohibitions.” Gov’t at 18. The ICCPR is of foundational importance, comprising

one of three conventions known as the International Bill of Human Rights. A

central aim of the ICCPR is to afford freedom from discrimination and violence to

women and girls, and this aim is furthered by domestic legislation targeting


                                         11
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individual conduct that violates the human rights guaranteed by the ICCPR.

Section 116—duly enacted by the U.S. legislative and executive branches after

specific findings about the need for a federal response to the practice—marks a

proper exercise of the Treaty Power.

     A. Congress’s Enactment of 18 U.S.C. § 116 Rationally Relates to the
       United States’ Treaty Commitments and Is Owed Substantial Deference

       The ICCPR establishes the right for individuals to be protected against

torture and inhuman treatment, for women and girls to be protected against

violence, and for any child to have “such measures of protection as are required by

his [or her] status as a minor.”22 Signed by the President and ratified by the Senate,

the ICCPR has legally binding effect within the United States. U.S. CONST., art. II,

§ 2, cl. 2; Medellin v. Texas, 552 U.S. 491, 504-05 (2008). To implement the

ICCPR, the United States has criminalized individual acts that violate the human

right to be free from discrimination and violence in Section 116 and guaranteed by

the ICCPR.



22
      International     Covenant       on    Civil   &      Political    Rights,
June 8, 1992, 999 U.N.T.S. 171 (adopted by the United States Sept. 8, 1992), arts.
2(1), 3, 7, 24, 26 (ICCPR). See also U.N. Human Rights Committee (UNHRC),
General Comment No. 28: Article 3, The Equality of Rights Between Men and
Women, Doc. CCPRFGM/C/21/Rev.1/Add.10, ¶11 (Mar. 29, 2000) (General
Comment No. 28). Decisions and Comments of the UNHCR are not binding but
are considered persuasive authority for the United States and other signatories
when interpreting their duties under the ICCPR.

                                         12
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      As reflected in the congressional findings accompanying Section 116, FGM

is a grave human rights abuse that demands a federal response.              Congress

determined that the practice of FGM leaves “physical and psychological health

effects that harm the women involved.” The “unique circumstances” surrounding

the practice of FGM, moreover, “place it beyond the ability of any single State or

local jurisdiction to control.” 23   Reflecting the considered judgment of the

legislative and executive branches as to how best to implement the treaty

commitments of the United States, Section 116 is owed substantial deference by

this Court.24

23
       Congressional Findings, Pub. L. 104-208, Div. C, § 605(a). Consistent with
the enactment of Section 116, U.S. AID has encouraged other countries to
criminalize FGM/C. U.S. DEPARTMENT OF STATE, USAID, UNITED STATES
GLOBAL STRATEGY TO EMPOWER ADOLESCENT GIRLS 20 (Mar. 2016). See also U.S.
DEPARTMENT OF STATE, USAID, UNITED STATES STRATEGY TO PREVENT AND
RESPOND TO GENDER-BASED VIOLENCE GLOBALLY (2012).
24
       Congressional Findings, Pub. L. 104-208, Div. C, § 605(a); Williamson v.
Lee Optical, 348 U.S. 483, 487 (1955) (holding that although the law at issue may
have been “needless,” it was “for the legislature, not the courts, to balance the
advantages and disadvantages of the new requirement”); Abbott v. Abbott, 560 U.S.
1, 12 (2010) (referring to the “well-established canon of deference” to “the
Executive Branch’s interpretation of a treaty”); Katzenbach v. McClung, 379 U.S.
294 (1964) (deferring to congressional factfinding in respect of Title II of the Civil
Rights Act of 1964). Cf. United States v. Lopez, 514 U.S. 546, 562 (1995) (striking
down legislation for which no “congressional findings regarding the effects upon
interstate commerce” were available); Garcia v. San Antonio Transit Auth., 469
U.S. 528, 557 (1985) (noting that “[d]ue respect for the reach of congressional
power within the federal system” requires overruling National League of Cities v.
Usery, 426 U.S. 833 (1976), in which the Court had attempted to distinguish
between “integral” and non-integral governmental functions in interpreting the law
on state immunity).

                                         13
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     B. Numerous Countries Have Passed National Level Bans in Furtherance
       of the International Condemnation of FGM

       With Section 116, the United States stands alongside numerous other

countries that have also condemned FGM at the national level. Consistent with the

international consensus that FGM is a human rights abuse that violates women’s

equality and the right to be free from discrimination and violence, at least 59

countries have passed laws against FGM. 25       A few examples of the criminal

statutes that other states enacted to prevent FGM are outlined below. As these

examples demonstrate, the enactment of 18 U.S.C. § 116 fully accords with

international practice.

       1. United Kingdom

       The United Kingdom has long banned FGM as one of the most egregious

breaches of human rights.     England and Wales first criminalized FGM from

1985.26 Since then, its Parliament has continued to pass amendments extending the

severity and scope of this criminal offense. For instance, in 2003, it increased the

maximum penalty associated with FGM, and extended the scope of the law to




25
      World Health Organization, Factsheet – Female Genital Mutilation, January
2018,          http://www.who.int/en/news-room/fact-sheets/detail/female-genital-
mutilation.
26
      Prohibition of Female Circumcision Act 1985 (re-enacted under the Female
Genital Mutilation Act 2003), §§ 4, 5 (Eng.).

                                        14
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apply extra-territorially. 27 In 2015, it also introduced court-issued protection

orders for girls at risk of FGM, and obligated health and social workers and

teachers to report all suspected cases of FGM.28 Such far-reaching measures have

been enacted in response to FGM’s fundamental breach of human rights, as

described by English Members of Parliament:

              FGM violates a litany of human rights, including the
              right to security and physical integrity, the right to be
              free from torture and cruel, inhumane or degrading
              treatment, and potentially also the right to life.29

      2. New Zealand

      FGM is a criminal offense in New Zealand.30 This proscription flows from

both the need to protect human rights and New Zealand’s international obligations:

              [FGM] is widely condemned by the international
              community. It is condemned by the United Nations.
              This legislation has been brought in because of our
              responsibilities of being part of the United Nations
              community.31




27
       Id.
28
       UNITED KINGDOM HOME OFFICE, FGM PROTECTION ORDERS: A GUIDE TO
THE COURT PROCESS (1st ed. 2015).
29
       Stmt.         by          Lord          Alton        of      Liverpool,
792 Parl. Deb. H.L. col. 1424 (July 20, 2018).
30
       Crimes    Amendment          Act     1995 (1995     No 49),  §204A(1),
http://www.legislation.govt.nz/act/public/1961/0043/137.0/DLM329734.html.
31
       Alec Neill (Waitaki) Crimes Amendment Bill (No. 2) (second reading)
1995, Hansard vol. 547.

                                         15
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      3. Canada

      Performing FGM is a criminal offense in Canada,32 as is transporting a child

outside of Canada for the purposes of FGM.33 A parent who performs FGM on

their child may be charged with aggravated assault.34 Furthermore, a parent who

agrees for another person to perform FGM on their child can also be convicted as a

party to the offense.35

      The Human Rights Commissions of Canadian provinces have recognized the
                                                          36
practice of FGM as a “violation of human rights.”              In addressing this

“internationally recognized health and human rights concern,” 37 Canada has

acknowledged its international law obligations, including under the ICCPR.

      4. Germany

      The Federal Republic of Germany has criminalized FGM since

2013. 38 Early discussions on criminalizing FGM drew attention to the “severe



32
       Criminal Code, R.S.C. 1985, c C-46, §268(3).
33
       Id. at § 273(3).
34
       Id.
35
       Id. at § 21(1).
36
       See, e.g., Ontario Human Rights Commission, Policy on Female Genital
Mutilation       (FGM):     FGM       in      Canada      (Apr.       9,    1996),
http://www.ohrc.on.ca/en/policy-female-genital-mutilation-fgm/4-fgm-canada.
37
       Id.
38
       German Criminal Code, § 226a provides “Mutilation of Female Genitalia.
(1) Whosoever mutilates the outer genitalia of a female person is to be imprisoned
                                        16
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pain, high rate of complications, as well as physical and psychological

consequences for affected girls and women.” 39 Section 226a of the German

Criminal Code criminalizes all forms of FGM. The bill’s sponsors noted that

failing to combat FGM would “violate international standards,”40 and successive

government reports have considered Germany’s criminalization to be consonant

with its international human rights commitments with respect to women and girls.41

      5. South Africa

      FGM is a criminal offense in South Africa under the Children’s Act of

2005. 42 The Act expressly states that “[e]very child has the right not to be

subjected to social, cultural and religious practices which are detrimental to his or

her well-being.” 43 This Act reflects the obligation found in Article 5 of the

Protocol to the African Charter on Human and Peoples’ Rights on the Rights of

Women in Africa, which specifically obliges state parties to enact legislation


for not less than one year. (2) In less severe instances a prison sentence of six
months up to five years is to be recognized.”
39
        German        Parliament,        Seventeenth     Legislative      Period,
Draft Criminal Law Amendment – Effective Campaign Against Female Genital
Mutilation, Doc. No. 17/12374 (Feb. 19, 2013).
40
       Id. at p. 2.
41
       German         Parliament,        Eighteenth      Legislative      Period,
Twelfth Report of the Federal Government on Its Human Rights Politics, Doc. No.
18/10800 (Dec. 22, 2016)
42
      Children’s Act 38 of 2005, §§12(3), 305(1), 305(6) BSRSA (updated
through 2012).
43
      Id. at §12(1).

                                         17
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prohibiting FGM, to engage in public awareness against FGM, and to provide

victim support for women affected by FGM.44

      6. Kenya

      FGM is criminalized in Kenya under the 2011 Prohibition of Female Genital

Mutilation Act, which also prohibits a number of FGM-related offenses.45 Like the

prohibition of FGM in South Africa’s Children’s Act, this Act reflects the

obligation found in the Protocol to the African Charter on Human and Peoples’

Rights on the Rights of Women in Africa. Kenya’s fight against FGM is further

strengthened by its proscription under the Children Act 2001, 46 the Protection

Against Domestic Violence Act 2015,47 and its Penal Code.48

      Kenya also uses legislation to encourage a cultural shift regarding the

perception and practice of FGM. It has established the Anti-FGM Board, a semi-

autonomous government agency that advises the government on matters relating to

FGM; designs, supervises, and coordinates FGM-related policy and public


44
      Protocol to the African Charter on Human and Peoples’ Rights on the Rights
of Women in Africa (Maputo Protocol), Sept. 13, 2000, OAU Doc.
CAB/LEG/66.6,          art. 5, http://www.achpr.org/files/instruments/women-
protocol/achpr_instr_proto_women_eng.pdf.
45
      Prohibition of Female Genital Mutilation Act (No 32 of 2011) (revised in
2012) [hereinafter FGM Act 2011].
46
      Children Act (No. 8 of 2001), art. 14. (revised in 2017).
47
      Protection Against Domestic Violence Act (No. 2 of 2015), art. 3(1)(ii).
48
      Kenyan Penal Code (revised in 2014), arts. 4 (definition of “grievous
harm”), 234.

                                       18
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awareness programs; and provides support to institutions and agencies working to

eradicate FGM.49

     C. The ICCPR Is One of Several International Treaties Condemning FGM
       As A Fundamental Human Rights Violation

       This is just a sampling of the anti-FGM laws that have been enacted and

implemented by countries around the world as an expression of their international

human rights commitments. These laws have been justified by reference to a

number of international treaties, including the ICCPR. Because FGM violates a

number of fundamental human rights—including the rights of women and girls, the

right to privacy and bodily integrity, the prohibition against torture, and the

prohibition against discrimination—it is condemned in a host of international

human rights instruments.

       On the regional level, human rights instruments in Europe 50 and Africa51

have characterized FGM as a discriminatory violation of women and girls’ human


49
       Kenya Office of the Attorney General and Department of Justice, Response
to the Questionnaire for Member States – H.R.Council Res. 27/22, (Apr.21, 2015).
See FGM Act, supra note __, pt. II.
50
       In Europe, the Convention on Preventing & Combating Violence Against
Women And Domestic Violence specifically requires the criminalization of
FGM/C. The Council of Europe Convention on Preventing & Combating Violence
Against Women And Domestic Violence, Apr. 7, 2011, C.E.T.S. No. 210. The
United States participated in this treaty’s development and the treaty is open to
accession by non-European States, although the U.S. is not currently a party to it.
The European Court of Human Rights has repeatedly recognized that FGM/C may
amount to illegal torture. Izevbekhai v. Ireland, Eur. Ct. H.R. Case No. 43408/08,
                                        19
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rights. Likewise, FGM has been characterized as a violation of the Convention

against Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment

(CAT),52 a treaty to which the United States is party. Article 1(1) of that Treaty

defines torture as any act in which “severe pain or suffering” is “intentionally

inflicted on a person . . . for any reason based on discrimination of any kind.”53



¶73 (May 17, 2011); Omerodo v. Austria, Eur. Ct. H.R. Case No. 8969/10 (Sept.
2011); Collins and Akaziebe v. Sweden, Eur. Ct. H.R. Case No. 23944/05, (Mar. 8,
2007); Sow v. Belgique, Eur. Ct. H.R. Case No. 27081/13, ¶62 (Jan. 19, 2016). The
European Convention on Human Rights, Nov. 4, 1950, 213 U.N.T.S. 221, E.T.S. 5,
art. 3 provides: “No one shall be subjected to torture or to inhuman or degrading
treatment or punishment.”, E.T.S. 5.
51
       The Protocol to the African Charter on Human and Peoples’ Rights on the
Rights of Women in Africa requires “necessary legislative and other measures to
be taken to eliminate “all forms” of FGM/C. African Charter on Human and
Peoples’ Rights, Protocol on the Rights of Women in Africa, art. 5, July, 11 2003,
http://www.refworld.org/docid/3f4b139d4.html. Forty African States have signed
and ratified the Protocol, and a further 13 have signed but not yet ratified. 22 of the
28 African countries where FGM is practiced have passed laws banning the
practice.
52
       The United States signed the Convention against Torture and Other Cruel,
Inhuman or Degrading Treatment or Punishment, 1465 U.N.T.S. 85 (hereinafter
CAT) on 18 April 1988 and ratified it on 21 October 1994. The United States
signed the ICCPR on 5 October 1977, and ratified it on 8 June 1992.
53
       CAT art. 1(1) provides “For the purposes of this Convention, the term
"torture" means any act by which severe pain or suffering, whether physical or
mental, is intentionally inflicted on a person for such purposes as obtaining from
him or a third person information or a confession, punishing him for an act he or a
third person has committed or is suspected of having committed, or intimidating or
coercing him or a third person, or for any reason based on discrimination of any
kind, when such pain or suffering is inflicted by or at the instigation of or with the
consent or acquiescence of a public official or other person acting in an official
capacity. It does not include pain or suffering arising only from, inherent in or
incidental to lawful sanctions”.

                                          20
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The U.N. Committee against Torture (CAT Committee) has confirmed that FGM

can constitute torture,54 as have the U.N. Special Rapporteur on Violence Against

Women 55 and the U.N. Special Rapporteur on Torture. 56 The CAT Committee

regularly calls on States to outlaw FGM.57

      The broad condemnation of FGM in a variety of international treaties

besides the ICCPR serves to strengthen the decision of the legislative and

executive branches to enact Section 116. There can be no question that Section

116 reflects a proper exercise of the Treaty Power.



54
        CAT Committee, General Comment No. 2, Doc. CATFGM/C/GC/2, ¶18
(Jan. 24, 2008).
55
        Rep. of the U.N. Special Rapporteur on Torture & Other Cruel, Inhuman or
Degrading Treatment or Punishment, U.N. Doc. A/HRC/7/3 (Jan. 15, 2008); Rep.
of the U.N. Special Rapporteur on Torture & Other Cruel, Inhuman or Degrading
Treatment or Punishment, U.N. Doc. EN.4/1986/15 (Feb. 19, 1986) ¶ 38; Report of
the Special Rapporteur on torture U.N. Special Rapporteur, Torture and Other
Cruel, Inhuman or Degrading Treatment or Punishment, U.N. Doc. A/HRC/7/3,
¶¶50-54 (Jan. 15, 2008); Rep. of the U.N. Special Rapporteur on Torture & Other
Cruel, Inhuman or Degrading Treatment or Punishment, U.N. Doc. A/HRC/31/57
(Jan. 5, 2016).
56
        Rep. of the U.N. Special Rapporteur on Torture & Other Cruel, Inhuman or
Degrading Treatment or Punishment, U.N. Doc. A/HRC/31/57 (Jan. 5, 2016), ¶ 58.
57
        CAT Committee, General Comment No. 2, Doc. CATFGM/C/GC/2, ¶ 18
(Jan. 24, 2008). See, e.g., CAT Committee, Conclusion and recommendations of
the Committee against Torture: Cameroon, Doc. CATFGM/CFGM/CR/31/6, ¶7(b)
(Feb. 11, 2004); CAT Committee, Concluding Observations on the initial report of
Mauritania adopted by the Committee at its fiftieth session (6–31 May 2013),reads
“[i]n line with the commitment that it made during the universal periodic review in
November 2010, the State party should urgently adopt a law prohibiting female
genital mutilation”. Doc. CAT/C/MRT/CO/1, ¶24 (June 18, 2013)

                                         21
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III.   THE UNITED STATES’ ENACTMENT AND ENFORCEMENT OF 18
       U.S.C. 116 IS JUSTIFIED UNDER THE COMMERCE CLAUSE

       Section 116 is also an appropriate use of Congress’ powers under the

Commerce Clause. The act of mutilation is a commercial activity that often entails

interstate travel, as in this case. A fragmented State response to FGM is no

response at all; this is a quintessential area for federal intervention. Section 116

falls well within the powers afforded Congress in Article I, section 8, of the

Constitution, and the propriety of Congress’s decision to exercise the power is only

strengthened by the fact that Section 116 accords with the international

condemnation of FGM.

       FGM is practiced by a number of communities within the United States. The

Population Reference Bureau notes that although some of these communities are

concentrated in a few large States, they have increasingly fanned out to new

destinations across the country.58 Individuals who wish to subject their children to

the practice are often required, as in this case, to cross state borders in search of

FGM’s practitioners. This phenomenon is seen in the graphic below.




58
      Population Reference Bureau, Female Genital Mutilation/Cutting in the
United States, 2016, https://www.prb.org/us-fgmc.

                                         22
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Figure 1: Top metropolitan areas within the United States for the prevalence
of FGM. States without laws against FGM are shown in red. Since the date of
this map, Michigan and New Hampshire have also passed FGM bans.
      A patchwork of state-level bans is patently insufficient to eradicate the

nationwide market for FGM services, which can generate substantial profits for its

illicit practitioners.   As Senator Wellstone remarked during Congress’s

deliberations, Section 116 “would also send a clear message to American medical

professionals,” who could otherwise earn “as much as $3,000 to perform

mutilations on young girls.” See Defs.’ Ex. I (141 Cong. Rec. S9912 (daily ed.

July 13, 1995) (statement of Sen. Wellstone)). That perpetrators of FGM receive

financial remuneration for their services is reflected in survivors’ testimonials, at

Annex 1.

                                         23
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      Today, only 27 States have laws against FGM. Of these 27 States, only 11

have specific provisions banning the transportation of a child out of the State to
                                                                             59
perform FGM which would be banned if performed within the State.                  (A

compilation of state laws against FGM is attached as Annex 2.) Without a federal

prohibition, parents could simply transport their children to States with no

prohibition on FGM, thereby perpetuating this extreme form of child abuse with

impunity.

      The practice of FGM transcends international as well as inter-state borders.

As noted during legislative debate, the practice affects tens of millions of women

around the world, and is prevalent in cities from New York to Seattle. See Defs.’

Ex. I (141 Cong. Rec. S9911 (daily ed. July 13, 1995) (statement of Sen.

Wellstone)). In major airports, U.S Immigration and Customs Enforcement and

Homeland Security officials educate individuals and families travelling to and

from countries with a high prevalence rate of FGM that it is unlawful to take a girl

outside the country to perform FGM.60 U.S. Citizenship and Immigration Services


59
       Equality Now, Factsheet on Female Genital Mutilation/Cutting within the
United                  States,                 September                  2018,
https://d3n8a8pro7vhmx.cloudfront.net/equalitynow/pages/216/attachments/origin
al/1536875107/FGMintheUS_factsheet_Sept2018.pdf?1536875107.
60
       U.S. Immigration and Customs Enforcement, ICE fights to protect girls and
women       from     mutilation    and      abuse,     20     November     2017,
https://www.ice.gov/news/releases/ice-fights-protect-girls-and-women-mutilation-
and-abuse.

                                        24
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also provides a notice with information on the legal status of FGM to immigrants

entering the country, using Section 116 as a tool for prevention as well as

enforcement.

      For these reasons, FGM necessitates federal action. Given the commercial

and cross-border nature of FGM, both the legislative and executive branches have

rightly determined that only the U.S. Government is situated to effectively combat

a practice which irreparably harms girls and women across the United States. The

decision by Congress to exercise its power under the Commerce Clause is only

strengthened by the fact that its intervention is necessary to provide a uniform and

efficacious response to a human rights violation condemned by the numerous

international instruments discussed above.




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IV.   CONCLUSION

      For the reasons stated above, the defendants’ Motion should be dismissed

and counts one through five of the Indictment should be upheld.

Dated:      Washington, D.C.
            September 24, 2018

                                        Respectfully Submitted,

                                        ___________________________
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                       CERTIFICATE OF SERVICE
      I hereby certify that on September 24, 2018, I electronically filed the
foregoing document with the Clerk of the Court using the ECF system which will
send notification of such filing to all counsel of record.

Dated:      September 24, 2018



                                      /s/ Luke A. Sobota
                                      Luke A. Sobota




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